SETTLEMENT AGREEMENT AND GENERAL RELEASE,

Settlement Agreement and General Release (“Agreement”) dated February 23,
2016, by and between Timothy J. Lehane (“Lehane”) (hereinafter referred to as Plaintiff’)
Richard Hoshino (“Hoshino”), Baybrent Construction Corp. (“Baybrent Construction”) and
Baybrent Tile Corp. (“Baybrent Tile”), their divisions, affiliates, subsidiaries, parents,
corporations under common ownership or control or related business entities, predecessors,
successors, assigns, officers, directors, trustees, and employees, including, but not limited to, all
agents, stockholders, partners, members, administrators, representatives, attorncys, insurers or
fiduciaries (collectively “Defendants”),

WHEREAS, Plaintiff commenced a lawsuit against the Defendants which is
pending in the United States District Court, Eastern District of New York, Docket No. 15-CV-
4577 (ERK)(RER) (the “Federal Matter’), in which he has asserted various claims and avers he
is entitled to, inter alia, alleged unpaid wages and unpaid overtime pursuant to the Fair Labor
Standards Act, 29 U.S.C. §§ 201 ef seg., New York State Labor Law and other statutes; and,

WIHIEREAS, Defendants have denied they violated the aforementioned laws
(and/or any other laws); asserted Plaintiff is not entitled to any additional wages, asserted
Plaintiff was fully and properly paid for scrvices he perfortned for Defendants, and otherwise
vigorously defended against the Federal Matter; and,

WHEREAS, the parties are desirous of resolving these disputes and any and all
disputes without incurring further time, expense, or attorneys’ fees; and,

WHEREAS, the terms of this Agreement were fully reviewed by Plaintiff and his
attorneys and all parties have had a sufficient opportunity to consider this Agreement and
reviewed this Agreement with their respective attorneys; and,

WHEREAS, the parties have carefully considered other alternatives to executing
this Agreement and have entered into this Agreement knowingly, voluntarily and without
cocrcion or duress;

NOW, THEREFORE in consideration of the covenants, releases,
representations, obligations and promises contained herein and for other good and valuable
consideration, it is mutually agreed as follows:

l. Any and all disputes Plaintiff has with Defendants are fully settled in accordance
with the terms more fully set forth herein.

2. Consideration.
The parties for the good and sufficient consideration set forth below agree as
follows:

a. Except as provided in paragraph 2(b) hereinafter, the parties agree
Plaintiff is not presently entitled to any pay, damages, monics, or benefits from Defendants
including, but not limited to, wages; compensatory damages; statutory damages; emotional
distress damages; punitive damages; allorneys’ fees; expenses; insurance benefits; employment
or fringe benefits; benefits pursuant to purported membership in Local 282, International
Brotherhood of Teamsters (hereinafter referred to as the “Union”), or any other union or trade
organization; other medical benefits or medical insurance; commissions; bonuses; stock options;
contributions or proceeds from any benefit plans, including such plans as prescribed by the
Union; sick pay; holiday pay; vacation pay; severance payments; salary or consulting payments.

b. In consideration for Plaintiff's execution of this Agreement and Plaintiff's
gencral release of any and all claims, including, but not limited to, all claims for money damages
or claims of an equitable or other nature, attorneys’ fees, costs or expenses, and in consideration
of the parties’ compliance with the promises made herein, Defendants agree to pay Plaintiff and
his attorneys, by remitting to Plaintiffs attorneys the amounts as set forth in Exhibit “A”
annexed hereto within the time period provided therein.

C. Plaintiff understands and agrees that he would not receive the monies
specified in this Agreement except for his exccution of this Agreement and his agreement to
fulfill the promises described herein.

3. General Release,

a. In consideration of the promises of benefits, mutual agreements, payment
and other good and valuable consideration contained in this Agreement, Plaintiff hereby releases
and forever discharges Defendants, their divisions, affiliates, subsidiaries, parents, corporations
under common ownership or control or related business entities, predecessors, successors,
management companies, assigns, officers, directors, members, partners, trustees, employees,
agents, actuaries, accountants, stockholders, administrators, representatives, attorneys including
without limitation attorneys who appeared in this action, insurers or fiduciaries, past, present or
future, of and from all debts, obligations, promises, covenants, agreements, contracts,
endorsements, bonds, controversies, suils or causes known or unknown, suspected or
unsuspected, of every kind and nature whatsoever, legal, cquitable, contractual, tortious or
statutory which may heretofore have existed or which may now cxist including, but not limited
to (i) claims arising directly or indirectly from Plaintiff's employment with Defendants and the
termination of that employment, including but not limited 1o any claim for benefits pursuant to
Plaintiff's purported membership in the Union, or purported membership in any other union or
trade organization; (ii) claims arising directly from the actions or inactions of Defendants; (iii) all
allegations and causes of action in the Federal Matter; (iii) claims under federal, state or local
laws, statutes, constitutions, regulations, rules, ordinances or orders including but not limited to
claims arising under: the Fair Labor Standards Act, 29 U.S.C. §§201 ef seg.; Section 1981
through 1988 of Title 42 of the United States Code; Title VI of the Civil Rights Act of 1964, 42
U.S.C. §§2000(c) ef seg., as amended; the Americans With Disabilities Act of 1990, 42 U.S.C.
§§12101 ef seg.; the Family and Medical Leave Act of 1993, 29 U.S.C. §§2601 ef seg.; the
Employee Retirement Income Security Act of 1974, 29 U.S.C. §1001 ef seg.; the National Labor
Relations Act, 29 U.S.C. §§151 ef seg.; the Labor-Management Reporting and Disclosure Act,
29 U.S.C. §§401 ef, seg.; the Rehabilitation Act of 1973, 29 U.S.C. §§701 ef seg.; as amended,

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the Consolidated Omnibus Budget Reconciliation Act of 1985, 29 U.S.C. §§1161 ef seg.; the
Occupational Safety and Health Act, 29 U.S.C. §§651 ef seg.; the Age Discrimination in
Employment Act of 1967, 29 U.S.C. §§621 ef seg.; the Older Workers’ Benefit Protection Act,
as amended; the Internal Revenue Code; the New York State Labor Law 8§ 1 ef seg. and
applicable regulations 12 NYCRR 142-2.2, 142-2.4 and 146-1.1 ef seg.; the New York State
Executive Law (including its Human Rights Law) §§290 ef seg.; the Wage Theft Prevention Act;
the New York Equal Pay Law; the New York Legal Activities Law; all other New York State
Wage and Hour Laws including, without limitation, Sections 740 and 741, the New York
Worker Health and Safety Act; any other federal, state or local human rights, civil rights, wage-
hour, wage-payment, pension, labor, contract or tort laws; the common law including but not
limited to defamation, breach of contract, conversion, unjust cnrichment and/or quantum meruit;
any other federal, state or local civil, human rights, bias, whistleblower, discrimination,
retaliation, wage, compensation, employment, labor or other local, state or federal law,
regulation or ordinance; any benefit, payroll or other plan, policy or program; any public policy,
contract and/or third-party beneficiary; and/or the aforementioned laws’ rules and/or regulations,
ordinances, or public policy, or any other federal any claim for costs, attorneys’ fees,
disbursements, liens or expenses or any other claim, based upon any conduct occurring from the
beginning of the world to the date of this Agreement.

4, Plaintiff's Representations and Covenants.

a, Covenant Not_to_Sue: xcept as provided in Paragraph 4(i) herein,
Plaintiff hereby covenants and agrees not to sue, commence, prosecute and continue any other
proceeding or complaint (civil, administrative or criminal), or accept any relief individually or as
a member of a class, against Defendants in any court of law or equity, or before any
administrative agency, in his own name, or accept any relicf as a member of a class, against
Defendants in any court of law or equity, or before any administrative agency, with respect to
any matter arising or derivative from his association with Defendants. Plaintiff, individually,
agrees to discontinue and withdraw any existing or pending proccedings or complaints brought
in his own name, or in his place in whole or in part, against Defendants. In furtherance of this
provision, Plainuffs counsel will execute the FRCP 4)(a)(2) Voluntary Dismissal With
Prejudice attached hereto as Exhibit B. Any documents confirming the withdrawal, dismissal
and/or closure of said proceedings and complaints must be sent by Plaintiff to the attorneys for
Defendants pursuant to paragraph 9(b). In the event any administrative agency fails or refuses to
close any proceeding or complaint filed by Plaintiff against Defendants notwithstanding
Plaintiffs filing of said notice, Plaintiff agrees to take any and all steps reasonably necessary to
bring about the final closure of such proceeding or complaint.

b. Sufficiency of Consideration: Except as provided in Paragraph 4(i) herein,
&

Plaintiff expressly understands and agrees the obligations under this Agreement and tender of the
payment described herein are in lieu of any and all other amounts to which Plaintiff might be, is
now, or may become entitled to receive from Defendants upon any claim whatsoever and,
without limiting the generality of the foregoing, Plaintiff expressly waives any right or claim that
he may have or assert any additional claims against Defendants, or payment for back pay, front
pay, interest, bonuses, damages, accrued vacation, accrued sick leave, medical, dental, optical,

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hospitalization or other fringe benefits, accidental death and dismemberment coverage, long-term
disability coverage, stock options, pensions, benefits pursuant to Plaintiff's purported
membership in the Union or purported membership in any other union or trade organization,
education benefits, automobile usage benefits, life insurance benefits, overtime, severance pay,
liquidated damages and/or attorneys’ fees or costs with respect to or derivative from Plaintiff's
employment with Defendants. Plaintiff further understands and agrees that the payment
described herein is over and above any obligations and payment(s) from Defendants to which
Plaintiff may have been entitled. Plaintiff hereby specifically acknowledges that this Agreement,
and the monies reccived by Plaintiff referenced in Exhibit A are a fair and reasonable resolution
of a bona fide dispute over a provision of the Fair Labor Standards Act.

C. Furthermore and as provided in Paragraph 4({i) herein, Plaintiff hereby
covenants and agrees not fo recover any monetary damages or equitable relief (civil,
administrative or criminal), individually or as a member of a class, against Defendants in any
court of law or equity, or before any administrative agency, with respect to any matter arising or
derivative from his employment with Defendants, including any claim to benefits or pension
monies related to arising from his purported membership in the Union or any other union or trade
organization, or his separation from employment with Defendants.

d. Non-Disparagement: Except as provided in enumerated Paragraph 4(i)
herein, the parties will not engage in any conduct that is injurious to the reputation and interests
of each other including publicly disparaging (or inducing or encouraging others to publicly
disparage), denigrating, or criticizing either party regarding any subject matter, including without
limitation those that are relevant to the instant proceedings, and settlement. This provision
covers statements and other communication made via the internet,

e. Cooperation: Except as provided in Paragraph 4(i) herein, Plaintiff agrees
that, in the event he is subpoenaed by any person or entity to give testimony (in a deposition,
court proceeding or otherwise) which in any way relates to any subject matter directly or
indirectly relevant to the instant proceedings and settlement, he will give prompt and reasonable
notice of such request (but no later than within three (3) business days of receipt of the request)
to Defendants as set forth in Paragraph 9(b) of this Agreement and will make no disclosure
(unless required by law) until Defendants have had a reasonable opportunity to contest the right
of the requesting person or entity to such disclosure.

f. Non-Disclosure: Plaintiff agrees and represents he will not voluntarily
disclose the contents of or produce to third parties “Defendants’ Information” as defined in
paragraph 4(g) below. Plaintiff further agrees he will not voluntarily disclose any files,
documents, or other information in his possession, custody or control which pertain, refer or
relate to Defendants, its affiliates, officers, directors, members, or employees, including
documents which refer to Defendants’ business, current or past employees, employee directories,
training manuals, files, correspondence, notes, statements, tapes, logs, summaries, diaries,
minutes, transcripts, or other documents relating to Plaintiff's claims, and all copies thereof, and
that any material subject to this paragraph that is or has been stored in any form, including but
not limited to, on a computer. In the event Plaintiff discloses any such files, documents or

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equipment, either voluntarily or involuntarily, Plaintiff shall provide written notice to Defendants
in accordance with Paragraph 9(b) of this Agreement of the information, files, documents or
equipment that were disclosed and the identity of the individual(s) to whom same was disclosed.
Plaintiff further covenants that, to the extent not otherwise required by law, Plaintiff shall limit
any disclosures concerning this litigation or its resolution made to any and all non-governmental
entities or individuals including but not limited to the Union by averring only that the Compliant
was withdrawn and or voluntarily dismissed and nothing further.

g. Return of Defendants’ Information; Plaintiff represents he has returned to

Defendants and/or destroyed and/or deleted all “Defendants’ Information,” including, without
limitation, keys and other items permitting access to any of Defendants’ buildings, apartments or
other structures, mailing lists, client lists, employee lists, Defendants’ financial information,
reports, contracts, memoranda, records and software, computers, file keys, security access codes,
computer access codes or disks and other physical or personal property which Plaintiff received,
prepared or helped prepare, and that Plaintiff will not retain any copies, duplicates, reproductions
or excerpts thereof. The term “Defendants’ Information” as used in this Agreement includes but
is not limited to: (a) information not generally known to the public and includes information
about Defendants’ businesses or Defendants’ affiliates and other information concerning
Defendants; (b) other financial or proprietary information, the use or disclosure of which might
reasonably be construed to be contrary to the interests of Defendants or their affiliates; and (c)
any other document, item or information Plaintiff removed from Defendants’ place of business.
Plaintiff agrees the damages caused by such an unauthorized disclosure or use of Defendants’
information is not readily subject to calculation and Plaintiff therefore agrees Defendants shall be
entitled to recover liquidated damages in the amount of ten thousand dollars and zero cents
($10,000.00) per breach of this paragraph.

h, Plaintiff acknowledges and represents he is unaware if he is currently
suffering from any injury or discase including, but not limited to, a stress-related injury or
disease caused by or in any way related to his employment with Defendants.

i. Nothing in this Agreement shall be construed to restrict any
communication or participation Plaintiff may have with any agency of the United States
government, subdivision thereto, or any Stale or Municipal government agency charged with the
enforcement of any law. Plaintiff understands that although he is not prohibited from filing a
charge or complaint against Defendants with any agency of the United States government, any
subdivision thereto, or any State or Municipal government agency charged with the enforcement
of any law by virtue of this Agreement, Plaintiff waives any right to recover monetary damages
in any charge, complaint or lawsuit filed by Plaintiff or anyone else on Plaintiff's behalf.

5. No Adniission.

a. This Agreement shall not in any way be construed as an admission by
Defendants that they acted wrongfully with respect to Plaintiff or any other individual, or that
Plaintiff has any rights or claims whatsoever against Defendants. Defendants specifically
disclaim any liability for any purported wrongful acts against Plaintiff on the part of themselves,

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their officers, employees, agents and/or assigns. Further, this Agreement shall not in any way be
construed as an admission by Defendants as to any allegations set forth in the Complaint in the
Federal Matter. Lastly, this Agreement does not act as an admission that Richard Hoshino is an
employer, or that he employed Plaintiff in any way. Any reference to employment by
Defendants is used only for point of reference and convenience of the reader.

b. All parties acknowledge this matter as being settled to avoid further
litigation and its concomitant expense.

6. Fnforceability. If any provision of this Agreement is held to be illegal, void, or
unenforceable, such provision shall be of no force or effect. However, the illegality or
unenforceability of the provision shall have no effect upon, and shall not impair the legality or
enforceability of, any other provision of this Agreement, provided, however, that upon any
finding by a court of competent jurisdiction or an arbitrator that a release or waiver of claims or
rights or a covenant sct forth herein is illegal, void or unenforceable, Plaintiff agrees to execute
promptly a release, waiver and/or covenant that is legal and enforceable.

7. Injunctive and Other Relief. The partics agree any breach of the promises
contained in this Agreement may cause permanent and irreparable damage to Defendants for
which a remedy at law will be inadequate. Consequently, Defendants shall be entitled to
injunctive relief prohibiting any such breach or threatened breach or violation, or to specific
performance of this Agreement. This docs not limit other relief to which Defendants might be
entitled in the event of any breach or threatened breach of this Agreement including, but not
limited to, an appropriate award of compensatory, punitive and/or liquidated damages, including
those noted in paragraph 4(g). No bond or other security shall be posted by either party as a pre-
condition to the issuance of an injunction,

 

8. Release Notification and Withdrawal.
a Defendants advised Plaintiff to discuss the terms of this Agreement and

release of claims with his legal counsel. Plaintiff acknowledges he did so; it is his choice to
waive any potential claims in return for the benefits set forth herein; and, said choice was made
after careful thought, and afier consulting with his attorneys. Plaintiff represents that he has been
advised to and did consult legal counsel regarding this Agreement. Plaintiff further represents
that after having had a full opportunity to review and consider the terms and conditions of this
Agreement, including the opportunity to discuss them with his spouse, counsel or financial
advisor of his own choosing, and having had sufficient time to review and consider this
Agreement, Plaintiff fully understands all of the provisions of this Agreement and has executed
same freely and voluntarily.

b. Plaintiff must return this Agreement to Defendants with his original and
notarized signature by February 25, 2016, a date in excess of twenty-one (21) days from its
delivery to Plaintiff. Plaintiff acknowledges that he has been given at least twenty-one (21) days
to consider this Agreement carefully, and Plaintiff fully understands and agrees to all of its
terms. If the Agreement is not returned with Plaintiffs original and notarized signature to

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Defendants by said date, it wilt be null and void ab initio at Defendants’ clection and in their sole
discretion,

c, Plaintiff may revoke this Agreement within seven (7) days of Plaintiff's
execution. This seven (7) day time period will begin to run the day after Plaintiff has executed
this Agreement. If Plaintiff revokes the Agreement, it shall be rescinded in its entirety and
Plaintiff will not receive the benefits sct forth hercin, Said revocation must be delivered, in
writing, via facsimile, regular mail or federal express to Gerald C. Waters, Jr., Esq. Meltzer,
Lippe, Goldstein, & Breitstone, LLP, 190 Willis Avenue, Mineola, New York 11501; fax: (516)
237-2893, and received within seven (7) days of the execution of this Agreement, If Plaintiff
does not revoke this Agreement, it shall become effective eight (8) days afier Plaintiff has signed
it. If the last day of the revocation period is a Saturday, Sunday or legal holiday in New York,
then the revocation period shall not expire until the following day which is not a Saturday,
Sunday, or legal holiday.

9, Miscellaneous.

a, Any inquiries regarding Plaintiff's employment will be directed, in writing
only by facsimile or regular mail, to Dawn McGlone, Baybrent Construction Corp., 1637
Sycamore Avenue, Bohemia, New York 11716, fax: (631) 563-1764. Ms. McGlone, any
successor employee in Ms. McGlone’s title, or an individual appointed by Defendants, will
respond to any such inquiry, in writing by facsimile or regular mail, with Plaintiff's dates of
employment (on or about May 1, 2000 through on or about June 29, 2015) and position held
(Driver) with Defendants.

b. All notices or other communication provided for or permitted herein, other
than as set forth in 8(c) and 9(a) above, shall be in writing, and mailed by U.S. Registered or
Certified Mail/Return Receipt Requested, reputable overnight express courier (Fed Ex, UPS,
etc.) or sent by telecopy or other similar communication, provided that, if such communication is
used, the notice is also mailed simultaneously by First-Class U.S. Mail, to the party entitled or
required to receive same, at the address set forth below or at such other address as such party
shall designate by a notice given pursuant to this paragraph. All such notices, etc., shall be
deemed given when mailed in accordance with this paragraph.

i) Lfto Plaintiff:
Saul D. Zabell, Esq.
c/o Zabell & Associates, P.C.
| Corporate Drive, Suite 103
Bohemia, New York 11716
Fax: (631) 563-7475

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ii) ifto Defendants

Dawn McGlone
c/o Baybent Construction Corp.
1637 Sycamore Avenue
Bohemia, New York 11716
Fax: (631) 563-1764
with a copy to:
Gerald C. Waters, Jr., Esq.
c/o Meltzer, Lippe, Goldstein & Breitstone, LLP
190 Willis Avenuc
Mineola, NY 11501
Fax: (516) 237-2893

C. This Agreement and its annexed exhibits contain the entire understanding
between the parties hereto concerning the subject matter hereof, supersedes any and alt prior
agreements among the parties with respect to the subject matter hereof, and may not be changed,
modified, or altered, nor any of its provisions waived, except by an agreement in writing signed
by the parties hereto. A waiver by any party of any of the terms or conditions of this Agreement,
or of any breach thereof, shall not be deemed a waiver of such term or condition hereof, or of
any subsequent breach thereof, All rights and remedies by this Agreement reserved to any party
shall be cumulative and shall not be in limitation of any other right or remedy which such party
may have at law, in equity, or otherwise.

d. Should there be any ambiguity with respect to the interpretation of this
Agreement, no inference will be drawn against the drafter of the Agreement in connection with
said dispute. This Agrcement will be interpreted by the trier of fact without regard to the identity
of the drafier of the Agreement.

e. This Agreement may be executed in two (2) or more counterparts, each of
which shall be deemed an original, but all of which shall constitute one and the same instrument,
and in pleading or proving any provision of this Agreement, it shal] not be necessary to produce
more than one (1) of such counterparts. Facsimile and/or PDF transmission copies will be
deemed and accepted as original in all proceedings and no objection will be raised regarding
same, The exhibits annexed hereto are specifically incorporated and made a part of this
Agreement,

f. This Agreement shall inure to the benefil of Defendants, their successors
and assigns, including, but not limited to, any corporation, individual, partnership or other entity
which may acquire all or substantially all of Defendants’ assets and business or with or into
which Defendants may be consolidated or merged, This Agreement and its attached exhibits
shall inure to the benefit of Plaintiff and his heirs, executors and assigns.

£. This Agreement was negotiated with specific reference to the State of
New York and shall in all respects be governed by relevant federal law and the laws of the State
of New York.

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h, The captions of the sections hereof are for convenience only and shall! not
control or affect the meaning or construction of any of the terms or provisions of this Agreement.
Plaintiff shall execute any other instruments and/or documents that are reasonable or necessary
to implement this Agreement.

i. Each of the covenants contained herein is a separate and independent
covenant. A breach. finding of unenforceability or waiver of any one covenant herein (or of any
other covenant or agreement between these parties} shall not relieve either party of any
remaining obligations hereunder.

THERFORE, the partics to this Agreement now voluntarily and knowingly execute this

Agreement:
BAYBRENT CONSTRUCTION CORP.

i , oN ~
ox ZOD. eZ BAYBRENT TILE Corp.

‘Timothy J. Lehane

Datercy BY? Wi 5

 

 

By: Richard Hoshino
Title: President

Date:

 

Richard Hoshino

Date:

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STATE OF_/ 4 )

  
  

 

 

ySS.:
COUNTY OF SG/FACLIT )

On _felyuit 2.22016 before me personally came Timothy J. Lehane. known to
me to be the individual described in. and who executed the foregoing Settleme LAgrcement and
General Release. and duly acknowledged to me that he executed the sam¢é, a

SAUL D. ZARELL a“
Notery Public, Stale of Now York a Loo
No, 02245038081 -
Qualified in Sutiolk County, ¢_ Notary Public
Commission Expires January 5, a
STATE OF _.
)SS.:
COUNTY OF )
f.
On ___. 2016 before me personally came Richard Hoshino, known to

me to be the individual described in, and who executed the foregoing Settlement Agreement and
Release. on behalf and as President of Baybrent Construction Corp. and Baybrent Tile Corp. and
duly acknowledged to me that he is an officer of Baybrent Construction Corp. and Baybrent Tile
Corp. and executed this Settkement Agreement and Release on behalf said entities.

 

Notary Public

STATE OF )
ySS.:
COUNTY OF _)
On ____. 2016 before me personally came Richard Hoshino, known to

me to be the individual described in. and who executed the foregoing Settlement Agreement and
General Release. and duly acknowledged to me that he executed the same.

 

Notary Public

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h, The captions of the sections hereof are for convenience only and shall not
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Plaintiff shall execute any other instruments and/or documents that are reasonable or necessary
to implement this Agreement.

i. Each of the covenants contained herein is a separate and independent
covenant, A breach, finding of unenforceability or waiver of any one covenant herein (or of any
other covenant or agreement between these parties) shall not relieve cither party of any
remaining obligations hereunder.

THERFORE, the parties to this Agreement now voluntarily and knowingly execute this

Agreement:
BAYBRENT CONSTRUCTION CORP,
BAYBRENT TILE CORP.

Timothy J. Lehane ‘i mond Hest -

By: Richard Hoshino

 

 

Date:
Title: President

Date: Alaaln,

Rare LL uo

Richard Hoshino

Date: d/aal ce

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STATE OF )
)SS.:
COUNTY OF )

On , 2016 before me personally came Timothy J. Lehane, known to
me to be the individual described in, and who executed the foregoing Settlement Agreement and
General Release, and duly acknowledged to me that he executed the same.

 

Notary Public
STATE OF New Youte_)
)SS.:
COUNTY OF Spsffiic  )
On Febwary a3 , 2016 before me personally came Richard Hoshino, known to

me to be the individual described in, and who executed the foregoing Settlement Agreement and
Release, on behalf and as President of Baybrent Construction Corp. and Baybrent Tile Corp. and
duly acknowledged to me that he is an officer of Baybrent Construction Corp. and Baybrent Tile

Corp. and executed this Settlement Agreement and Release on behalf said entities.
DAV McGLONE a
NOTARY PUBLIC, STATIC OF NEW YORK
HO. 4865903

conn eee iw SuOtk cpu Notary Public
STATE OF_ \wewNoric_ )
COUNTY OF Sutfuite iss
On ty 2%, 2016 before me personally came Richard Hoshino, known to

me to be the individual described in, and who executed the foregoing Settlement Agreement and

General Release, and duly acknowledged to me that he executed the same.
Dh Me Dbe ne
DAVE MAcGLONE

NOTARY PULLG, state UF NEY YORK Notary Public
10. 4Siefg3
QUALITICD tt SUFFOLK COUNTY,
COMMISSION EXPIRES JULY 6,

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EXHIBIT A

1. In exchange for the promises made by Plaintiff and Defendants in this
Agreement, Defendants shall deliver to Plaintiff and Plaintiff's attorneys the total gross sum of
Eighty-Five Thousand Dollars Zero Cents ($85,000.00) (“Settlement Sum”) in accordance with
this Agreement and this Exhibit A. Payment of the Settlement Sum shall be made within seven
(7) calendar days of the following acts: (a) Plaintiff executing and providing two (2) originals
and two (2) copies of the Agreement to Defendants’ counsel; (b) Plaintiff's attorney executing
and providing to Defendants’ counsel an FRCP 41(a)(2) compliant document in the form
attached hereto as Exhibit B; (c) Plaintiff declining to revoke the Agreement in accordance with
paragraph 8 of the Agreement; (d) the expiration of the revocation period noted in paragraph 8 of
the Agreement; and, (e) Plaintiff and his counsel providing Defendants’ counsel executed W-9s.
Payment of the Settlement Sum shall be made by three (3) checks as follows:

i. One check payable to the order of Timothy J. Lehane in the gross amount of
Thirty-Two Thousand Five Hundred Dollars Zero Cents ($30,000.00). The
foregoing amount shall constitute back wages and is subject to applicable
federal, state, municipal and social security taxes. Defendants will apply a tax
rate for said back wages, and provide a W-2, based upon information
contained in Plaintiff's most recent W-4 on file with Defendants;

ii. | One check payable to the order of Timothy J. Lehane in the gross amount of
Thirty-Two Thousand Five Hundred Dollars Zero Cents ($30,000.00). The
foregoing amount shall constitute liquidated damages subject to W-9 reporting
and will not be subject to applicable federal, state, municipal and social
security wages;

iii. One check payable to “Zabell & Associates, P.C., as attorneys for Timothy J.
Lehane” in the gross amount of Twenty Five Thousand Dollars Zero Cents
($25,000.00). The foregoing amount shall constitute attorneys’ fees and be
subject to W9 reporting; and,

The checks referenced in paragraph 1 (i)-(iii) shall be delivered to Zabell & Associates,
P.C., 1 Corporate Drive, Suite 103, Bohemia, New York 11716, attn: Saul D. Zabell, Esq.

Plaintiff and his attorneys understand and agree they are responsible for making and/or
paying all of their taxes relating to monies they receive under this Agreement, regardless of
whether Plaintiff or Plaintiff's attorneys receive an IRS Form 1099 for monies they receive under
this Agreement or an IRS Form 1099 is issued to Plaintiff or Plaintiff's attorneys for said
monies; and

2. In consideration of the promises of benefits, mutual agreements, payment
and other good and valuable consideration contained in this Agreement, Plaintiff hereby releases
and forever discharges Defendants, their divisions, affiliates, subsidiaries, parents, corporations
under common ownership or control or related business entities, predecessors, successors,
management companies, assigns, officers, directors, members, partners, trustees, employees,

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agents, actuaries, accountants. stockholders, administrators. representatives, attorneys including
without limitation attorneys who appeared in this action, insurers or fiduciaries, past, present or
fulure. of and from all debts. obligations. promises. covenants. agreements. contracts.
endorsements, bonds, controversies. suits or causes known or unknown, suspected or
unsuspected. of every kind and nature whatsoever, legal. equitable, contractual. tortious or
statutory which may heretofore have existed or which may now enist including. but not limited
to (i) claims arising directly or indirectly from Plaintiffs employment with Defendants and the
termination of that employment, including but not limited to any claim for benefits pursuant to
Plaintiffs purported membership in the Union, or purported membership in any other union or
trade organization; (ii) claims arising directly from the actions or inactions of Defendants: (iii) all
allegations and causes of action in the Federal Matter: (iii) claims under federal. state or local
laws, statutes, constitutions, regulations, rules, ordinances or orders including but not limited to
claims arising under: the Fair Labor Standards Act, 29 U.S.C. §§201 e¢ sey.: Section 198]
through 1988 of Title 42 of the United States Code: Tithe VIL of the Civil Rights Act of 1964. 42
U.S.C. §$2000(e) ef seg.. as amended: the Americans With Disabilities Act of 1990, 42 U.S.C.
S$12101 ef seg.: the Family and Medical Leave Act of 1993, 29 U.S.C. §$2601 ef seg.: the
Employee Retirement Income Security Act of 1974, 29 U.S.C. $1001 ef seg.: the National Labor
Relations Act. 29 U.S.C. §§151 ef seg.: the Labor-Management Reporting and Disclosure Act.
29 ULS.C. $8401 ef, seg: the Rehabilitation Act of 1973, 29 U.S.C. $§701 e¢ seg.: as amended.
the Consolidated Omnibus Budget Reconciliation Act of 1985. 29 U.S.C. SSUIGI ef seg.: the
Occupational Safety and Health Act. 29 U.S.C. $8651 ef seg.: the Awe Discrimination in
Employment Act of 1967, 29 U.S.C. $8621 e¢ seg.: the Older Workers’ Benelit Protection Act.
as amended: the Internal Revenue Code: the New York State Labor Law 88 | ef seg. and
applicable regulations 12 NYCRR 142-2.2, 142-2.4 and 146-1.1 ef seg.; the New York State
Executive Law (including its Human Rights Law) $$290 e¢ seg.: the Wage Theft Prevention Act:
the New York Equal Pay Law: the New York Legal Activities Law: all other New York State
Wage and Hour Laws including. without limitation. Sections 740 and 741, the New York
Worker Health and Safety Act: any other federal. state or local human rights. civil rights, wage-
hour, wage-payment, pension, labor, contract or tort laws: the common law including but not
limited to defamation, breach of contract. conversion, unjust enrichment and/or quantum meruil;
any other federal, state or local civil, human rights. bias, whistleblower, discrimination.
retaliation. wage. compensation, employment. labor or other local. state or federal law,
regulation or ordinance: any benefit. payroll or other plan. policy or program: any public policy.
contract and/or third-party beneficiary: and/or the aforementioned laws” rules and/or regulations.
ordinances. or public policy, or any other federal any claim for costs, attorneys’ fees,
disbursements, liens or expenses or any other claim. based upon any conduct occurring from the
beginning of the world to the date of this Agreement.

em Zz

Timothy J. Lehane

 

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Case 1:15-cv-04577-RER Document 16-1 Filed 02/26/16 Page 15 of 16 PagelD #: 122

STATE OF AY

- )SS.:
COUNTY OF Sur tl K )

-. ° ” > . epee

On ke by 2-216 before me personally came Timothy J. Lehane, known
to me to be the individual described in. and who executed the loregoin » Agreement, and duly
acknowledged to me that he exccuted same. :

SAULD. ZABE ow York oa
Notary Public, 7008081 babi
quatifed in Sut ay 48. 20L5 Ca

Cammission Expires “

 

 

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EXHIBIT B

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

 

- X
TIMOTHY J. LEHANE, individually and on behalf
of all other individuals similarly situated, Index No. 15-CV-4577(ERK)(RER)
Plaintiff.
-against- FRCP 41(a)(2) Voluntary
Dismissal With Prejudice
BAYBRENT TILE CORP... BAYBRENT
CONSTRUCTION CORP., and RICHARD
HOSHINO,
Defendants.
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IT IS HEREBY STIPULATED AND AGREED. by and between the parties that
pursuant to Rule 41(a)(2) of the Federal Rules of Civil Procedure all claims of Timothy J.
Lehane as stated in the within action shall be, and the same hereby are. dismissed in their
entirety. with prejudice and without costs and/or attorneys” fees to any party as against any other
parly:

IT IS FURTHER STIPULATED AND AGREED, that this Stipulation may be signed
in counterparts and by facsimile or electronic signature each of which shall be an original but all
of which together shall constitute one and the same instrument. This Stipulation may be filed
without further notice with the Court.

- i? f
Dated: -2-— 2-)- . 2016 Dated: © & b . 2016

  
    

MELTZER, LIPPE,
BREITSTONE, L

 
 
 

    
   

 

 

 

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By: 7 a | By: AO — ot /
Saul D. Zabetf Esq. Gerald C, Vater. Esq.
Attorneys for, faintiif Attorneys for Defe s
] Corporat Drive. Suite 103 190 Willis Avenue
Bohemia, New York 11716 Mineola, NY 14501
Tel: (631) 589-7242 Tel: (516) 747-0300
So Ordered:

 

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